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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



AARA, INC. d/b/a A & L MARKET,                    Case No. _________________
                                                  U.S. District Judge _________
            Plaintiff,
                                                  Removed from
v.                                                  State of Michigan
                                                    36th District Court
MICHIGAN LABORERS’ VACATION                         Hon. David S. Robinson, Jr.
FUND,                                               Case No. 19169688

            Defendant.


                 REMOVAL AND NOTICE OF REMOVAL

To:   State of Michigan                 AARA, Inc. d/b/a A&L Market
      36th District Court               c/o Dalen Patrick Hanna
                                        Hanna LLP
                                        33717 Woodward Avenue, Suite 560
                                        Birmingham, MI 48009-0913

      Defendant Michigan Laborers’ Vacation Fund (Fund), removes this case

from the State of Michigan 36th District Court pursuant to 28 U.S.C. §§1331 and

1441 and the Employee Retirement Income and Security Act (ERISA), 29 U.S.C.

§ 1132, because Congress has enacted the foregoing legislative scheme which

occupies the entire field of the subject matter in Plaintiff’s Complaint. (Ex. 1).

Jeffrey McCarver (“McCarver”) is the payee referenced in Plaintiff’s Complaint

and is a “participant” of the Fund’s “employer benefit plan,” as defined by 29


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U.S.C. § 1002.     McCarver allegedly assigned his benefit to Plaintiff, which

Plaintiff now claims from the Fund. Here, the “complete preemption doctrine”

permits recharacterization of Plaintiff AARA, Inc.’s claim as a federal claim so

that removal is proper, even though the Complaint does not mention a federal basis

of jurisdiction.

      1.     Plaintiff filed its lawsuit against the Fund, Case No. 19169688, in the

State of Michigan 36th District Court. The Fund received Plaintiff’s Michigan

complaint by certified mail on October 3, 2019.

      2.     The Fund is a jointly administered, multiemployer benefit fund under

Sections 502 and 515 of the Employee Retirement Income Security Act (ERISA),

29 U.S.C. §§1132 and 1145, and Section 301(a) of the Labor Management

Relations Act (LMRA), 29 U.S.C. §185(a).

      3.     The Fund’s Trust was established for the purpose of distributing

vacation benefits to each employee-participant entitled to same pursuant to the

provisions of an applicable collective bargaining agreement, and the provisions of

its Trust Agreement and “welfare plan” as defined by 29 U.S.C. § 1002(1).

      4.     The Fund, prior to Plaintiff’s claim, properly distributed McCarver’s

benefit by check to McCarver, who cashed it.         McCarver then, according to

Plaintiff’s Complaint, purported to assign this same check from the Fund to

Plaintiff which, the Plaintiff, as assignee, now claims as due and owing from the


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Fund. If Plaintiff prevails it would ultimately be unjustly paid from the benefit

accounts of other innocent plan participants, since the Fund has already paid the

benefit due McCarver.

      5.     Federal Court has original jurisdiction based on 28 U.S.C. § 1331, and

exclusive jurisdiction based on 29 U.S.C. § 1332 for causes of action involving

claims for benefits. In a suit concerning allocation of ERISA plan benefits, ERISA

provides an “exclusive federal cause of action,” Metropolitan Life Ins. Co. v.

Taylor, 481 U.S. 58, 62-63 (1987), and a complaint regarding the allocation of plan

benefits “is necessarily federal in character.” Id. at 63-64.

      6.     Moreover, Plaintiff’s complaint is a federal one insofar as it involves:

the interpretation of federal law, the Fund’s Trust and plan; the entitlement to the

payment of a plan benefit; the fraudulent conveyance and/or assignment of plan

assets improperly obtained by McCarver to Plaintiff under state and Federal

common law; the violation of plan terms requiring resolution under 29 U.S.C. §

1132(a)(3); and injunctive, declaratory, and/or other appropriate relief under 29

U.S.C. § 1132(a)(3).

      7.     Plaintiff’s claims arise in Detroit, Michigan, within the Eastern

District of Michigan. Venue is proper in this Court pursuant to 28 U.S.C. §§

102(a)(2) and 1441(a).

      8.     Removal is timely, based on 28 U.S.C. § 1441 and 28 U.S.C. § 1446.



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      9.    The Fund will provide this removal and notice of removal to Plaintiff

and to Michigan’s 36th District Court.


                                         s/ Lauren E. Crummel
                                         Christopher P. Legghio (P27378)
                                         Lauren E. Crummel (P73333)
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                                         nahat@legghioisrael.com
                                         crummel@legghioisrael.com

  November 1, 2019                       Attorneys for Defendant Michigan Laborers
                                         Vacation Fund




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                            CERTIFICATE OF SERVICE

       I certify that on November 1, 2019, I caused the foregoing paper to be
electronically filed with the Clerk of the Court using the ECF system and mailed a
copy of such documents to:

Dalen Patrick Hanna
Hanna LLP
33717 Woodward Avenue, Suite 560
Birmingham, MI 48009-0913

      I also certify that on November 1, 2019, I caused a copy of the foregoing paper to
be overnight mailed to the 36th District Court.

                                          /s/ Lauren E. Crummel
                                          Lauren E. Crummel




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       EXHIBIT 1
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